 Case 1:20-cr-00295-WFK Document 55 Filed 03/11/22 Page 1 of 4 PageID #: 322

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
DCP:NMA                                               271 Cadman Plaza East
F. #2020R00589                                        Brooklyn, New York 11201


                                                      March 11, 2022

By ECF and Email

The Honorable William F. Kuntz II
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Carter
                       Criminal Docket No. 20-295 (WFK)

Dear Judge Kuntz:

                 The government respectfully submits this letter in connection with the upcoming
trial in the above-captioned case. On March 9, 2022, the Court denied the defendant’s motion
suppress the gun and ammunition seized from the defendant on April 29, 2020 and his post arrest
statements. ECF No. 51. In light of the Court’s decision, the government (i) moves to preclude
the defendant from arguing to the jury that he was improperly or unlawfully stopped and arrested
or that his statements were taken in violation of Miranda v. Arizona, 384 U.S. 436 (1966), and
(ii) to request the Court instruct the jury that all evidence in this case was obtained lawfully. The
Court has already decided that the gun and ammunition were seized lawfully and that the
arresting officers did not violate the defendant’s Miranda rights. Re-litigating those issues at
trial would do nothing but confuse the jury and distract them from the only relevant question —
whether the defendant possessed a firearm that had traveled in interstate commerce, following a
felony conviction, on April 29, 2020.

               In addition, the government writes to respond to the defendant’s objection to
testimony regarding the value of the firearm seized from the defendant. See ECF No. 52 at 6.
This testimony is relevant and admissible both to show absence of mistake and to negate any
argument that the defendant’s position of the firearm was not knowing.

   I.      Background

               On August 6, 2020, the defendant was charged by indictment with being a felon
in possession of a firearm, in violation of 18 U.S.C. § 922(g). The charge against the defendant
stems from his April 29, 2020 arrest by New York City Police Department (“NYPD”) officers
who found the defendant carrying a loaded .40 caliber Smith & Wesson pistol late at night on a
dangerous street corner in East New York. Following his arrest, the defendant told the arresting
 Case 1:20-cr-00295-WFK Document 55 Filed 03/11/22 Page 2 of 4 PageID #: 323




officers, in sum and substance, that he had borrowed his cousin’s “piece” because he didn’t like
the neighborhood.

               On September 5, 2021, the defendant moved to suppress the loaded firearm,
ammunition, and his statements. ECF No. 29. The defendant argued that the officers stopped
him in violation of the Fourth Amendment because they lacked reasonable suspicion to believe
he was armed, and that his post-arrest and pre-Miranda admissions were taken in violation of the
Fifth Amendment. The Court held an evidentiary hearing on the motion on February 23, 2021
and heard testimony from Officers Kevin Morgan and Renaldo Weekes, two of the officers who
stopped the defendant, and NYPD Detective Debra Lawson, the case detective. See Case No.
20-CR-295 (WFK) (Feb. 23, 2022 minute entry).

                On March 9, 2022, the Court denied the motion to suppress. The Court credited
Officer Morgan’s testimony that he observed the outline of a heavy L-shaped object in the
defendant’s paper bag, that the defendant was pacing, appeared nervous, and was sweating, and
that the defendant attempted to conceal the paper bag from the officers as they approached. ECF
No. 51 at 12. The Court also credited the officers’ testimony that the area where the defendant
was stopped is a high-crime area, with a history of homicides, shootings, robberies, and other
violent crime. ECF No. 51 at 12. With respect to the defendant’s statements, the Court found
that the officers’ pedigree questions did not amount to “custodial interrogation” and therefore
that the defendant’s statements were not taken in violation of Miranda and the Fifth Amendment.
ECF No. 51 at 15–16.

   II.     Discussion

               A. The Defendant Should Be Precluded From Re-Litigating
                  the Propriety of the Stop and His Post-Arrest Statements

                 Rule 104 of the Federal Rules of Evidence makes clear that the Court decides
“preliminary questions” outside the presence of the jury, including whether or not evidence is
admissible. See Fed. R. Evid. 104(a) (“The court must decide any preliminary question about
whether . . . a privilege exists, or evidence is admissible.”), 104(c) (“The court must conduct any
hearing on a preliminary questions o that the jury cannot hear . . . .”). The Court has done so in
this case, after taking testimony from three witnesses, and with the benefit of briefing from the
parties. Any attempt by the defendant to raise claims that the officers’ efforts to stop and search
him were improper would be an impermissible attempt to relitigate this already-decided issue.
See United States v. Lights, No. 15 CR 721 (RWS), 2016 WL 7098633, at *1-2 (S.D.N.Y. Dec.
5, 2016) (“The stop and subsequent searches were all based on valid probable cause. . . . This
issue has been litigated and decided. No reference to the illegality of the stop or subsequent
searches will be permitted at trial.”) (internal citation omitted).

               Moreover, the propriety of the search is irrelevant to the only factual questions for
the jury—whether the defendant possessed a firearm, whether that firearm traveled in interstate
commerce, and whether the defendant was previously convicted of a felony offense. See Fed. R.
Evid. 402 (“Irrelevant evidence is not admissible.”). Permitting the defense to argue that the stop
was improper or the product of government overreach would lead to a needless and irrelevant



                                                 2
 Case 1:20-cr-00295-WFK Document 55 Filed 03/11/22 Page 3 of 4 PageID #: 324




mini-trial. 1 It would also distract the jury from the questions actually presented and invite the
jurors to decide the case based on their feelings about law enforcement investigations and the
NYPD, rather than their determination of the defendant’s guilt in this case. See, e.g., Jury
Instructions, United States v. Pikus, No. 16-CR-329 (AMD), 2019 WL 8113500 (E.D.N.Y. Nov.
15, 2019) (“[A]ny evidence that was presented to you was obtained legally and you can consider
it.”).

               B. The Court Should Instruct the
                  Jury that All Evidence Was Obtained Lawfully

               For the same reasons, the jury should be instructed that all evidence in this case
was obtained lawfully. Such an instruction is necessary to ensure that the jury’s verdict is based
on the evidence actually admitted in this case, and not their personal views of the NYPD or law
enforcement investigations generally. More specifically, the government proposes the following
charge:
               During the trial in this case, you have heard evidence about a variety
               of investigative techniques and methods of collecting evidence. I
               instruct you that any evidence that was presented to you was
               obtained legally and you can consider it. The methods used to
               collect evidence or investigate should not enter your deliberations in
               any respect.
Adapted from the charge of the Hon. Ann M. Donnelly, United States v. Pikus, No.16 CR 329
(AMD) (E.D.N.Y.) and the Hon. Kiyo A. Matsumoto, United States v. Rivera, et al., No. 13 CR
149 (AMD) (E.D.N.Y.); see also United States v. O’Brien, No. 13 CR 586 (RRM), 2017 WL
2371159, at *12 (E.D.N.Y. May 31, 2017) (approving instruction that all evidence was “obtained
lawfully” and “the use of . . . searches to gather evidence is perfectly lawful and the Government
has the right to use such evidence in this case”); see also United States v. Barcelo, No. 13-CR-38
(RJS), 2014 WL 4058066, at *14 (S.D.N.Y. Aug. 15, 2014) (approving instruction that all
evidence was lawfully obtained).

               C. The Court Should Permit Testimony
                  Regarding the Value of the Defendant’s Firearm

                The government intends to call at trial Senior Special Agent Matthew Fleming of
the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) to testify about the
identification and interstate nexus of the firearm, and its monetary value in New York City. The
defendant does not object to Agent Fleming’s testimony regarding identification of the firearm or
interstate nexus, but contends that the value of the firearm is irrelevant to the issues at trial. See
ECF No. 52 at 6.
                Testimony regarding the value of the defendant’s firearm is relevant to the
defendant’s knowledge and to rebut any defense argument that the arresting officers “planted”

       1
               The legality of the stop has no relevance to the issues for trial, but even if it did,
any de minimis relevance would be “substantially outweighed” by the potential for unfair
prejudice, confusion, and undue delay of permitting it. See Fed. R. Evid. 403.



                                                   3
 Case 1:20-cr-00295-WFK Document 55 Filed 03/11/22 Page 4 of 4 PageID #: 325




the firearm. Although the evidence at trial will show that the defendant admitted to the arresting
officers that he possessed the firearm, the government anticipates that the defendant may argue
that he did not know that there was a firearm in the worn paper bag. To the extent he does so,
the fact that the weapon is valuable tends to make it less likely that another individual would
entrust the defendant with the weapon without his knowledge. The value of the firearm is also
relevant in the event the defendant argues that the arresting officers “planted” the firearm. The
fact that the firearm is expensive tends to make it less likely that the officers would have a spare
firearm on hand when they stopped the defendant or that they would give up such a weapon to
frame the defendant.

      III.      Conclusion

                 For the foregoing reasons, the Court should: (i) preclude evidence and argument
relitigating the lawfulness or propriety of the stop and search of the defendant and his statements,
and (ii) instruct the jury that all evidence admitted at trial was obtained lawfully, and (iii) permit
Special Agent Fleming to testify to the value of the firearm.

                   Thank you for your consideration.

                                                       Respectfully submitted,

                                                       BREON PEACE
                                                       United States Attorney

                                                 By:    /s/ Nicholas Axelrod
                                                       Nicholas M. Axelrod
                                                       Assistant U.S. Attorney
                                                       (718) 254-6883

cc:          Clerk of the Court (WFK) (by ECF)
             Michael P. Padden, Esq. (by ECF)




                                                   4
